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United States District-Court 95 JUL _5 mt 3a 20

for
Western District of Tennessee

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U.S.A. vs. Marshall Henderson Docket No. 04-20304-01

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Stephanie K. Denton presenting an official report upon the
conduct of Defendant Marshal Henderson placed under pretrial release supervision by the Honorable Tu M.
Pharn sitting in the court at Memphis, on the 10th day of August, 2004, under the following conditions:

1. Report to Pretrial Services as directed

2. Maintain or actively seek employment

3. Maintain or commence an education program

4. Refrain from possessing a firearrn, destructive device, or other dangerous weapon

5. Refrain from any use or unlawful possession of a narcotic drug or other controlled substances

6. Submit to any method of drug testing required by Pretrial Services

7. Participate in a program of substance abuse or treatment if deemed advisable by Pretrial Services

R.ESPECTFULLY FRESENTING PETITION FOR ACT[ON OF COURT AND FOR CAUSE AS FOLLOWS:

See attached pages

ORDER OF COURT I declare under penalty of perjury that the
§"l_a\ foregoing is true and correct.

Consider§,d_a d ordered this
day of \_) ’ Zoas:'and ordered Executed on June 28, 2005

  

 

    

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U.S. Pretrial Services Oi`!`scer

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U.S. District Juc€efMagisn-ate d P]ace Memphis, TN

 

 

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With Hu|e 55 and/or 32(13) FFlCrP on `“ '

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On Decerriber 29, 2004, the defendant appeared before U.S. Magistrate Tu M. Pharn on Indictment# 04-20508-01
charging him with Possession with Intent to Distri`bute 48.9 grams of Cocaine Base. At that time, he was ordered

released on his own recognizance and he was directed to abide by the conditions of release set in criminal case# 04-
20304-01.

On January 1 l, 2005 , a violation report was prepared and submitted to the Honorable Jon P. McCalla advising him that
the defendant submitted two urine specimens that tested positive for Cocaine and that he had admitting to using illicit
controlled substances

wait as directed to Pretrial Services
Defendant Henderson failed to report to Pretrial Services on April 18, 2005, alter he was released from the Shelby
County Jail.

Refrairi from any use or unlawful possession of a narcotic drug or other controlled substances

On December 29, 2004, and January 4, 2005, the defendant tested positive for cocaine. On January 4, 2005, the
defendant signed a voluntary admission of illegal drug use form stating that he last used cocaine and ecstasy on January
3, 2005. Mr. Henderson admitted to using cocaine and ecstasy approximately two times each week.

On April 29, 2005, and May 14, 2005, the defendant tested positive for marijuana while in substance abuse treatment
at ACAR.

On May 12, 2005, Defendant Henderson verbally admitted to smoking marijuana when he was released from juvenile
court custody on April 18, 2005.

Submit to any method of substance abuse testing required by Pretrial Services

Defendant Henderson failed to submit a urine specimen at ACAR on June 25, 2005, as directed.

Particigate iri a program of inpatient or outpatient substance abuse testiriv. education or treatment if deemed

advisable by Pretrial Services
Defendant Henderson failed to participate in treatment at ACAR on .iune 17, 2005, as directed.

_'I_l_ie defendant shall not commit any offense in violation of federal, state, or local law while on release in this case
Defendant Henderson was arrested on Novernber 26, 2004, in Memphis, TN, for l) Driving While Licerise is
Suspended’Revoked/Cancelled, 2) Violation of Vehicle Registration Law, and 3) Violation of Financial Law. On May
16, 2005, all charges were nolle prosequi. The defendant did not report this arrest to Pretrial Services.

On Decernber 29, 2004, Defendant Edwards was arrested in the WD/TN and appeared before U.S. Magistrate Tu M.
Pham on indictment number 04-20507-01 charging him with Possession with Intent to Distribute 48.9 grams of Cocaine
Base. At that time, he was ordered released on the same bond and existing conditions of release as set in indictment
number 04-20304-01.

The following is an update on pending charges in Shelby County, TN: On January 20, 2004, the defendant was arrested
for l) Driving Under the Influence of Intoxicants/Drugs, 2) Possession of Controlled Substance, 3) Reckless Driving,
4) Public Intoxication, 5) Driving without License in Possession, 6) Refusal to Submit to BAC Test, 7) Driving Under
the Infiuence of lntoxicants/Drugs, and 8) Driving Under the lnfluence Intoxicants/Drugs. On May 3, 2004, counts 4
and 5 were Nolle Prosequi. On June 29, 2004, counts 1, 2, 3, 7, and 8 were indicted (Indictment# 04 04461) and count
6 was dismissed The next report date is set for July 21, 2005.

On March 8, 2004, the defendant was arrested for 1) Possession of Cocaine with Intent to Manufacture/Sell/Deliver, 2)
Possession of Cocaine with Intent to Manufacture/Sell/Deliver, 3) Evading Arrest, 4) Resisting Official Deterition, and
5) Evading Arrest. On May 27, 2004, counts 3 and 4 were Nolle Prosequi. On August 10, 2004, counts l, 2, and 5 were
indicted (Indictment# 04 05466). The next report date is set for July 21, 2005.

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Defendant Henderson was incarcerated in the Shelby County Jail from March 8, 2005, until April 18, 2005, for failing
to pay child support

PRAYING THAT `l`HE COURT WILL ORDER ISSUANCE OF A WARRANT CHARGING THE DEFENDANT
WITH VIOLATING THE CONDITIONS OF PRETRIAL RELEASE.

BOND R.ECOMMENDATION: NONE

     

UNITED sTEATSDTiSRiCT COURT - WETERS DISTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 84 in
case 2:04-CR-20304 Was distributed by faX, mail, or direct printing on
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Eric Scott Hall
WAGERMAN LAW FIRM
200 .1 efferson Ave.

Ste. 13 13

Memphis7 TN 38103

David Charles Heriry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

